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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GENE MICHNO,
         Plaintiff,

        v.                                                Case No. 13-CV-7163

SHERIFF THOMAS DART, et al.,                              Honorable Matthew F. Kennelly
          Defendants.

IVAN HERNANDEZ,
          Plaintiff,
                                                          Case No. 13-cv-7949
        v.                                                Consolidated

COOK COUNTY SHERIFF’S OFFICE, et al.,
         Defendants.

             PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION
      FOR ADDITIONAL TIME TO COMPLETE ESI SEARCHES (DOCKET #148)

        Plaintiffs respectfully submit this response to Defendants’ Motion for Protective Order

(Dkt. 167)1, regarding the Court’s Orders requiring Defendants to search custodians’ ESI for

“OPR.” In support, Plaintiffs state the following:

        1.      Defendants’ motion for protective order on ESI (Dkt. 167) ignores Defendants’

complete failure to comply with their discovery obligations to search ESI in the first place, and the

fact that Defendants never searched and did not preserve relevant ESI of the individually named

Defendants after these cases were filed. Defendants’ motion also ignores Defendants’ own delay in

complying with at least 3 of this Court’s prior orders. Defendants’ motion also grossly misstates

what has transpired with respect to the ESI search and Plaintiffs’ attempts to assist Defendants in

complying with the Court’s orders, which is at Plaintiffs’ counsel’s own expense for the cost of

Plaintiffs’ ESI expert. (See Exhibit 1, Garrett Declaration.)




1       All Docket (“Dkt”) references are in the Michno case, as the same motions have been filed in both of
these consolidated cases.
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       2.      Despite prior orders for over a month requiring Defendants to search and produce

ESI, Defendants did not advise Plaintiffs’ counsel of any issues with the search term “OPR” (for

Office of Professional Review) until May 31, 2018 when the parties appeared at a court status.

Plaintiffs’ counsel offered to have the IT/ESI consultants on the phone to try to assist Defendants

with the issue. (See Group Exhibit 2, Email Correspondence.)

                      History of Motion to Compel ESI and Court Orders

       3.      On April 10, 2018, Plaintiffs filed a motion to compel, including ESI (Dkt. 132),

because Defendants had not produced any ESI, and it was clear from the depositions that Plaintiffs

had conducted that Defendants did not search their emails or their phones or other ESI for any

documents responsive to Plaintiffs’ discovery requests, despite their obligations to do so under the

Federal Rules of Civil Procedure. (See Dkt. 132.)

       4.      On April 12, 2018, the Court entered an order in relevant part: “The Court directs

counsel to confer further regarding plaintiff's motion to compel [124], defendants’ motion to limit

rule 30(B)(6) deposition [126], defendants' motion to limit ESI discovery requests [128], joint

motion for additional time to complete discovery [130], and plaintiff’s motion to compel [132].”

(Dkt. 135.)

       5.      Plaintiffs’ counsel attempted to have a meet and confer and to agree on a status

report per the Court’s order. On May 7, 2018, Plaintiffs’ counsel had to file the status report alone

because “Defendants’ counsel [had] request[ed] until Friday, May 11, 2018 to confer with his client

for any other areas where agreement may be reached.” (See Dkt. 142.) Plaintiffs requested that the

Court order Defendants “to conduct and complete the search and produce responsive ESI to the

search terms by no later than May 18, 2018, as the next round of depositions are scheduled for

May 21, 2018.” (Dkt. 142 at 2.)

       6.      Defendants filed a response to the status report requesting more time to confer.

(Dkt. 143.)
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       7.      On May 9, 2018, this Court entered the following order:

       The Court has reviewed the parties’ joint status report regarding ESI. In the report,
       defendants do not take positions on a number of points and ask for more time for
       their counsel to consult with defendants. Defendants are directed to make a filing in
       CMECF by no later than 12:00 noon on Friday, May 11, 2018 regarding their
       positions on each of these points. The date and time will not be extended, and the
       Court will not consider any late submission. If defendants fail to make a written
       submission by the prescribed date and time, the Court will rule on the disputed
       issues without the benefit of defendants’ views.

(Dkt. 144.)

       8.      On May 11, 2018, Defendants filed their response or status report on Defendants’

position on ESI custodians and search terms. (Dkt. 145.)

       9.      On May 14, 2018, this Court entered an order stating in relevant part:

       The parties' joint status report regarding disputes over ESI production in the Michno
       and Hernandez and the defendants' supplemental filings are not terribly helpful, but
       in order to avoid further delays the Court has done the best it can to ensure the
       production of relevant evidence while taking into account the existing discovery
       schedule, the desirability of avoiding undue burden, and proportionality. In both
       cases, production is to be made by May 18, 2018 unless the parties mutually
       agree to a later date. (1) In the Michno case, Sheriff Dart is excluded as a
       custodian; all others listed in the status report are to be included. The following
       proposed search terms apparently have been withdrawn: duty−related; disability OR
       disable!. In addition to these, the following proposed search terms are excluded:
       merit board; lawsuit; political; disciplin!. All other search terms listed in the status
       report are to be used. The time frame for the search is to be files created and/or
       modified from June 17, 2009 through the date the lawsuit was filed. Defendants are
       not required to process PDF files for OCR before conducting the search. (2) In the
       Hernandez case, Sheriff Dart is excluded as a custodian; all others listed in the status
       report are to be included. The following proposed search terms are excluded:
       complaint register; lawsuit; political; disciplin!. All other search terms listed in the
       status report are to be used. The time frame for the search is to be files created
       and/or modified from June 17, 2009 through the date the lawsuit was filed.

(Dkt. 146 (emphasis added).)

       10.     On May 18, 2018, Defendants filed a motion for extension of time to comply with

this Court’s May 14, 2018 Order. (Dkt. 148.)

       11.     Defendants’ counsel noticed the motion (Dkt. 148) for a date that he knew Plaintiffs’

counsel would be out of the country on a pre-planned vacation. Plaintiffs’ counsel requested that

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Defendants re-notice the motion for May 29, 2018, but Defendants’ counsel re-noticed the motion

for May 24, 2018, knowing that Plaintiffs’ counsel could not attend. Plaintiffs’ counsel as such filed a

response, noting that Plaintiffs would agree to Defendants having an extension until May 29, 2018

to produce the ESI per the Court’s order because of depositions that were scheduled to proceed

soon thereafter. (See Dkt. 151, Pls.’ Response.)

        12.     On May 24, 2018, this Court granted Defendants’ motion for extension of time to

produce ESI searches by June 4, 2018 at 5:00 p.m. (Dkt. 156.)

        13.     On May 31, 2018, the Court held a status in this case, and Defendants again

requested an additional extension of time to comply with this Court’s May 14, 2018 Order. The

Court entered the following order: “Status hearing and motion hearing regarding motion for

protective order [158] held on 5/31/2018. Deadline for defendants to comply with ESI discovery

requests is extended to 6/8/2018.” (Dkt. 162.)

        14.     Defendants now again seek additional time after the deadline for an extension to

comply with this Court order, or for the Court to reconsider its prior order. Defendants’ motion for

protective order is unclear on the relief Defendants are requesting.

                                       ESI Search for “OPR”

        15.     On May 31, 2018, when Defendants’ counsel first, and belatedly, raised the claim

that the search for “OPR” was yielding a high number of hits, Plaintiffs’ counsel offered to have her

ESI Expert (at Plaintiffs’ expense) on the phone with Defendants’ IT person. (See Exhibit 2,

Emails.)

        16.     Plaintiffs’ ESI consultant requested what the search was that was done, and Mr.

Garrett tried to propose some alternatives without having been involved in the search and with no

information as to what or how the search was run, including directing Defendants’ counsel to the

on-line manual for Office 365 and how to run search queries, since Defendants’ operate in Office

365. (See Group Exhibit 2, 6/5/18 Email.)
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        17.        On Saturday, June 9, 2018, the IT/ESI consultants further discussed the problems

with the search on the phone with the Parties’ counsel present, Ms. Kurtz for Plaintiffs and Mr.

Tyler Roland for Defendants. (See Exhibit 1, Garrett Declaration.)

        18.        On the call Defendants’ IT person stated that he ran the query submitted by Mr.

Garrett, and it has errors. Defendants’ IT person said he noticed the error was a parenthesis at the

end of the search string ‘)’, but said he didn’t have permission to change it. This was a waste of time

and could have been rectified with adding the ‘)’ and avoiding the issue of pointing out a simple

copy and paste error that was identified by the defendants immediately upon receiving the search

string. This could have avoided burdening the court with a simple eDiscovery issue. (Id.)

        19.        Counsel claimed the searches were burdensome and brought up that the query

resulted in over 80,000 hits multiple times in the call, although Mr. Garrett had repeatedly stated that

it seemed to be giving wild results for this query and that they should scrap the query all together.

(Id.)

        20.        Mr. Garrett suggested running the same search the defendants have originally

conducted with a qualifier to limit the search word ‘opr’ to the body of the emails. This returned an

estimated 2,000 emails for the Michno dataset and 2,300 emails for the Hernandez dataset. (Id.)

        21.        Defendants’ liaison claimed that the two datasets were not deduplicated and many of

the emails could be duplicative of each other. (Id.)

        22.        Mr. Garrett inquired why the defendants have not reviewed the estimated 4,300

emails and informed them that the average review time is six seconds per document for a total of

seven (7) hours of work. Defendants’ counsel stated that he was not taking a position. (Id.)

        23.        Mr. Garrett asked if Defendants’ IT person could look into the data to see if there is

a common thread such as ‘newsletter’ being part of the subject line so that we could further refine

the search to reduce the amount of irrelevant emails and was told “no,” he was “not allowed to see

the data.” (Id.)
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            24.   Often times the number of hits from a search can be the result of a “false positive”

such as a newsletter or signature block, that can be filtered out and reduce the number of documents

for attorney review, as well as filtering out attorneys’ email addresses. However, the data has to be

sampled to determine if there are false positives; Defendants have not done that and refused to do

it. (Id.)

            25.   The customary best practice is for the reviewer to sample the dataset by reviewing a

small set of data, applying filters to remove large chunks of irrelevant ESI, then calculating the costs

for review with or without the aid of technology. (Id.)

            26.   Even 5,474 emails, which are not deduplicated, and should be, is not burdensome.

(Id.) Such a review would take less than seven (7) hours to complete, as the average time for review

is 6 seconds per document. (Id.)

            27.   Defendants have spent more time briefing this issue and burdening the Court than it

would have taken for them to review the data.

            28.   However, such review could be even further limited with Mr. Garrett’s assistance,

which Plaintiffs’ counsel also offered, or the reviewer, reviewing sample responsive data to

determine if there are false positive or irrelevant information. Defendants have not done this. (Id.)

The dataset can be further reduced by deduplicating, as well as excluding attorneys’ email addresses.

(Id.)

            29.   Again, Defendants could have had this discussion back in April 2018, or even when

they were answering Plaintiffs’ discovery requests back in February 2018, but did not. Moreover,

Defendants could have done this over a month ago when they were originally ordered to produce

the ESI by May 18, 2018. Again, they failed to do so.

            30.   Defendants’ delay in attempting to resolve these issues earlier with Plaintiffs’

counsel, and refusal to engage in other ways of limiting the number of documents to be reviewed, is

not an excuse to not comply with this Court’s orders, and should not be allowed to prejudice
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Plaintiffs in this case. As such, Defendants should be ordered to comply with this Court’s prior

orders by Friday, June 15, 2018. The next deposition in this case is set for June 19, 2018 of

Rosemarie Nolan. Defendants’ cancelled Zelda Whittler’s deposition, which was scheduled,

confirmed, and ordered by the Court to proceed on June 13, 2018. Plaintiffs’ counsel is still waiting

for confirmation of deposition dates from Defendants for the other remaining depositions in this

case.

        WHEREFORE, for the above stated reasons, Plaintiffs respectfully request that this Court

deny Defendants’ motion for protective order and require Defendants to comply with this Court’s

original orders (see above) by Friday, June 15, 2018, as the next scheduled deposition is set for June

19, 2018, and for such other relief as is just and equitable.

                                                 Respectfully Submitted,



                                                 /s/Dana L. Kurtz

                                                 Attorney for Plaintiffs

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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies and states that the attached documents were
served on the designated attorneys by electronic service via the Court’s ECF System on June 13,
2018.

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                                            /s/Dana L. Kurtz

                                            Electronically filed on June 13, 2018




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